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                              UNITED STATES JUDICIAL PANEL
                                           on
                                MULTIDISTRICT LITIGATION


IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER SECURITY DATA BREACH LITIGATION                                                MDLNo.2595


                                        TRANSFER ORDER


        Before the Panel:' Plaintiffs in an action pending in the Northern District ofAlabama move
under 28 U.S.c. § 1407 to centralize this litigation in that district. The litigation consists ofthe five
actions listed on Schedule A. 1 All responding parties support centralization in the Northern District
of Alabama - although responding defendants suggest, in the alternative, that we select the Middle
District of Tennessee as transferee district. 2

        On the basis ofthe papers filed and the hearing session held, we find that centralization under
Section 1407 in the Northem District of Alabama will serve the convenience of the parties and
witnesses and promote the just and efficient conduct ofthis litigation. These actions - all ofwhich
are putative nationwide class actions - share factual questions arising from the electronic theft of
personally identifiable information and personal health information of approximately 4.5 million
customers or patients of common defendants Community Health Systems, Inc., and Community
Health Systems Professional Services Corporation. Centralization will eliminate duplicative
discovery, prevent inconsistent pretrial rulings on class certification and other issues, and conserve
the resources of the parties, their counsel, and the judiciary.

         After weighing all relevant factors, we select the Northern District ofAlabama as transferee
district for this litigation. As mentioned, both moving plaintiffs and all responding parties support
selection of the district, and we conclude that it is an appropriate choice. The Honorable Karon O .


        • Judge Lewis A. Kaplan took no part in the decision ofthis matter. Certain Panel members
who could be members of the putative classes in this litigation have renounced their participation
in those classes and have participated in this decision.

       I The Panel has been informed of four additional related federal actions. Those actions and

any other related federal actions are potential tag-along actions. See Panel Rules 1.I(h), 7.1, and 7.2.

        2 Responding plaintiffs are those in the District of New Mexico, Middle District of
Pennsylvania, and Southern District of West Virginia actions. Responding defendants are
Community Health Systems Professional Services Corporation, Community Health Systems, Inc.,
and the self-described "Alabama Defendants": Riverview Medical Center; Gadsden Regional
Medical Center, LLC; Foley Hospital Corporation; Affinity Hospital, LLC; Anniston HMA, LLC;
and Gadsden Regional Physician Group Practice, LLC.
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Bowdre, to whom we assign this litigation, is an experienced jurist, and we are confident that she
will steer the proceedings on a prudent course.

         IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Alabama are transferred to the Northern District of Alabama, and, with the
consent ofthat court, assigned to the Honorable Karon O. Bowdre for coordinated or consolidated
pretrial proceedings.


                                      PANEL ON MULTIDISTRlCT LITIGATION




                                                        Sarah S. Vance
                                                             Chair

                                      Marjorie O. Rendell           Charles R. Breyer
                                      Ellen Segal Huvelle           R. David Proctor
                                      Catherine D. Perry
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IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER SECURITY DATA BREACH LITIGATION                     MDLNo.2595


                                  SCHEDULE A


         Northern District of Alabama

    ALVERSON, ET AL. v. COMMUNITY HEALTH SYSTEMS, INC., ET AL.,
         c.A. No. 2:14-01620

         Southern District of ¥ississippi

    LAWSON, ET AL. v. COMMUNITY HEALTH SYSTEMS, INC., ET AL.,
         c.A. No. 3:14-00712            CV-15-BE-022Q-S'

         District of New Mexico

    BRITO v. COMMUNITY HEALTH SYSTEMS PROFESSIONAL SERVICES          ~
         CORPORATION, ET AL., C.A. No. 1:14-00929 CV-15-BE-0225-S

         Middle District of Pennsylvania

    ROMAN v. COMMUNITY HEALTH SYSTEMS, INC., ET AL."
        C.A. No. 3:14-01705            CV_1S-B£-0226-S
         Southern District of West Virginia

    GLAH, ET AL. v. COMMUNITY HEALTH SYSTEMS, INC., ET AL!, c.A.
         No. 2:14-25783
                                    CV-15-BE-0227-S
